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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

IN RE:                              )                    Chapter 11
                                    )
EASTERN LIVESTOCK CO., LLC,         )                    Case No. 10-93904-BHL-11
                                    )
                Debtor.             )                    Hon. Basil H. Lorch III
                                ___ )
                                    )
SUPERIOR LIVESTOCK AUCTION, LLC     )
                                    )
                Plaintiff,          )
                                    )
v.                                  )
                                    )
EASTERN LIVESTOCK CO., LLC,         )
                                    )
                Defendant.

                            NOTICE OF DISCOVERY REQUEST

         James A. Knauer as Trustee for Debtor Eastern Livestock Co., LLC, by counsel, hereby

notifies the Court that on January 27, 2012, a Subpoena for Production of Documents Pursuant to

Rule 2004 in the above-captioned case was served via e-mail upon Wayne Stoffel in care of

David F. Hine, Vorys, Sater Seymour and Pease, LLP, 221 East Fourth Street, Suite 2000,

Atrium Two, Cincinnati, OH 45202. Attached hereto as Exhibit A is a copy of the Subpoena.
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                                                Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 1st day of February, 2012, a copy of the foregoing pleading
was filed electronically. Notice of this filing will be sent to the following parties through the
Court’s Electronic Case Filing System. Parties may access this filing through the Court’s
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       I further certify that on the 1st day of February, 2012, a copy of the foregoing pleading
was served via electronic mail transmission on the following:
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